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                                AFFIDAVIT

     I, David Otwell, being duly sworn, declare and state as

follows:

                        I.   PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against Marcus James Buchanan

(“BUCHANAN”) for a violation of Title 18, United States Code,

Section 844(e) (Making a Threat through Interstate Commerce to

Damage or Destroy Buildings by Fire or Explosives).

     2.      The facts set forth in this affidavit are based upon

my personal observations; my training and experience; and

information obtained from various law enforcement personnel and

witnesses.      This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.          Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and part only.

          II.   BACKGROUND OF TASK FORCE OFFICER DAVID OTWELL

     3.      I am a Task Force Officer (“TFO”) with the Federal

Bureau of Investigation’s (“FBI”) Joint Terrorism Task Force and

have been so assigned since November of 2003.         I have been a

police officer in Edmond, Oklahoma for over 30 years and have

been assigned to the FBI for the last 18 years as a TFO.

     4.      I am an investigative or law enforcement officer
within the meaning of 18 U.S.C. § 2510(7), that is, an officer



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of the United States who is empowered by law to conduct

investigations of and to make arrests for offenses enumerated in

18 U.S.C. § 2516.    I am authorized to conduct criminal

investigations of violations of the laws of the United States

and to execute warrants issued under the authority of the United

States.

     5.   I have been involved in a wide variety of

investigative matters.     Among other responsibilities, I am

responsible for conducting investigations into violations of

federal criminal laws, including individuals suspected of

terrorism-related activities.      I have arrested, interviewed, and

debriefed numerous individuals who have been involved and have

personal knowledge of terrorism-related activities; to include

bomb threats, possession of illegal weapons, explosives, and

other illegal items.     I have participated in numerous

investigations involving physical and electronic surveillance.

I have testified in judicial proceedings concerning the

prosecution of terrorism-related offenses.         I have been the

affiant on, and participated in the execution of, numerous

federal search warrants.     I have also received training in the

proper identification, preservation, and collection of digital

devices and storage media.

                    III. SUMMARY OF PROBABLE CAUSE
     6.    On February 28, 2022, BUCHANAN – an Oklahoma resident

who grew up in Los Angeles – called in bomb threats to five

schools in Los Angeles, including two elementary schools.           In a
call to one of the elementary schools, BUCHANAN also threatened


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that “when the kids go outside a van will shoot the kids.”

BUCHANAN’s girlfriend, who lives with him in Oklahoma, informed

the FBI that she has heard him call in bomb threats to schools,

and that he harbors a grudge against certain schools in

Los Angeles schools that he believes rejected him in his youth.

     7.     On April 27 and 28, 2022, BUCHANAN called in

additional bomb threats to two of the same five schools he

previously threatened, and threatened to shoot and kill children

at the other three schools.
                  IV.   STATEMENT OF PROBABLE CAUSE
     8.     Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.     BUCHANAN Made Harassing Phone Calls to Bancroft Middle
            School Throughout 2020

     9.      Based on my review of FBI and Los Angeles School

Police Department (“LASPD”) reports, I know that on multiple

occasions in 2020, a man, later identified as BUCHANAN, made

harassing phone calls to Bancroft Middle School, located at 929

North Las Palmas Ave, Los Angeles, California (“Bancroft Middle

School”).   Because the man called so many times, the school

staff became able to recognize his voice.        The school staff was

working remotely due to COVID-19 and using school-supplied

cellular phones equipped with caller ID.        Through caller ID, the

school staff determined that the caller making the harassing

phone calls did so using phone number (806) 502-0068 (the “0068

number”).



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     10.   Based on my review of FBI and LASPD reports, I know

that the school staff conducted a “reverse lookup” of the 0068

number and determined, based on their review of publicly

available information, that the number was associated with a

“Marcus Jamal Sanchez” located at an address in Blackwell,

Oklahoma (the “Blackwell Address”).

     11.   Based on information provided by the Los Angeles

Police Department, I learned that BUCHANAN was once the

subscriber of the 0068 number, his date of birth is February 2,

1978, and his address is the Blackwell Address.

     12.    I subsequently consulted Oklahoma DMV records, which

showed that BUCHANAN’s listed address is the Blackwell Address,

and his date of birth is February 2, 1978.         Additionally, based

on my review of public and law enforcement databases, I learned

that BUCHANAN uses several alias, including Marcus J. Sanchez,

Marcus V. Sanchez, Marcus S. Sanchez, Marcus D. Sanchez, Marcus

J. Buchanan, Marcus Buchanan, M. Sanchez and Mark Buchanan.            All

of those aliases are associated with BUCHANAN’s date of birth in

law enforcement databases.

     B.    BUCHANAN Made Bomb Threats Against Five Los Angeles
           Schools on February 28, 2022

     13.   Based on my review of FBI and LASPD reports, I know

that BUCHANAN made the following bomb threats:

           a.   On February 28, 2022, at approximately 8:46 a.m.,

a man, later identified as BUCHANAN, called Overland Elementary

School for Advanced Studies, located at 10650 Ashby Ave, Los
Angeles, California (“Overland Elementary”).         According to the



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school staff member who answered the phone, the caller stated

that there was a bomb on campus and that “when the kids go

outside a van will shoot the kids.”       After receiving the threat,

the school staff notified police and placed the school on

lockdown.    Police searched the campus for explosives or unusual

items, but found none.

             b.    On February 28, 2022, at approximately 8:51 a.m.,

a man, later identified as BUCHANAN, called Vine Street

Elementary School, located at 955 Vine Street, Los Angeles,

California (“Vine Street Elementary”).        According to the school

staff member who answered the phone, the caller stated, “there’s

a bomb in the school,” and then ended the call.          After receiving

the threat, the school staff notified police and placed the

school on lockdown.     Police searched the campus for explosives

or unusual items, but found none.

             c.    On February 28, 2022, at approximately 8:54 a.m.,

a man, later identified as BUCHANAN, called Bancroft Middle

School.     According to the school staff member who answered the

phone, the caller stated, “there is a bomb outside of the school

about to go off,” and then ended the call.         After receiving the

threat, the school staff notified police and placed the school

on lockdown.      The staff member who answered the phone told

police that she recognized the caller’s voice and that he was

the same man who made harassing phone calls from the 0068 number

throughout 2020, as described in paragraph 9 above.          Police

searched the campus for explosives or unusual items, but found
none.


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            d.     On February 28, 2022, at approximately 9:24 a.m.,

a man, later identified as BUCHANAN, called Fairfax High School,

located at 7850 Melrose Ave, Los Angeles, California (“Fairfax

High”).    According to the school staff member who answered the

phone, the caller stated: “I am in a car parked on Genesee

Street with a bomb.      There’s going to be a lot of people dead.”

Another staff member took over the call and heard the caller

state: “It’s going to go off any minute.        We’re going to blow up

the school.      You are a sorry piece of shit.”     After receiving

the threat, the school staff notified police and placed the

school on lockdown.     Police searched the campus for explosives

and unusual items, but found none.

            e.     On February 28, 2022, at approximately 9:30 a.m.,

a man, later identified as BUCHANAN, called Le Conte Middle

School, located at 1316 North Bronson Avenue, Los Angeles,

California (“Le Conte Middle School”).        According to the school

staff member who answered the call, the caller stated that he

had planted a nitrate-bomb in the building.         After receiving the

threat, the school staff notified police and placed the school

on lockdown.      Police searched the campus for explosives and

unusual items, but found none.

     14.    Based on my review of LASPD reports, I know that a

LASPD detective reviewed AT&T records of the calls made on

February 28, 2022, to Overland Elementary, Vine Street

Elementary, Bancroft Middle School, Fairfax High, and Le Conte

Middle School during the period five minutes before and five
minutes after the bomb threats were called into those schools.


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The LASPD detective identified a common phone number, (405) 934-

2489 (the “2489 number”), that had called Overland Elementary,

Vine Street Elementary, and Bancroft Middle School during that

timeframe.    Specifically, I understand from the LAPSD detective

that the AT&T records revealed the following calls from the 2489

number:

             a.   Overland Elementary
                  i.    One call at 8:46 a.m., which lasted

approximately one minute and 13 seconds; and

                  ii.   One call at 8:50 a.m., which lasted

approximately 24 seconds.

             b.   Vine Street Elementary

                  i.    One call at 8:51 a.m., which lasted

approximately 16 seconds.

             c.   Bancroft Middle School

                  i.    One call at 8:53 a.m., which lasted

approximately 30 seconds;

                  ii.   One call at 8:54 a.m., which lasted

approximately one minute and 10 seconds; and

                  iii. One call at 8:55 a.m., which lasted

approximately 37 seconds.

     15.     According to T-Mobile records, the subscriber of the

2489 number is M.C., and the subscriber address is the Blackwell

Address, which is the same address associated with BUCHANAN and

the 0068 number, as described in paragraphs 10-12 above.

     16.     T-Mobile records show that the 2489 number made the
following outgoing calls between 8:50 a.m. and 9:55 a.m. on



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February 28, 2022, each of which was dialed with the prefix *67

(a tool that allows a caller to block the incoming number on

caller ID):

             a.   One call to Overland Elementary at 8:50 a.m.;

             b.   One call to Vine Street Elementary at 8:51 a.m.;

             c.   Two calls to Fairfax High at 8:52 a.m. and

9:24 a.m.;

             d.   Three calls to Bancroft Middle School at 8:53

a.m., 8:54 a.m., and 8:55 a.m.;

             e.   Two calls to Le Conte Middle School at 9:28 a.m.

and 9:30 a.m.

     C.      BUCHANAN Makes Bomb Threats and Other Threats Against
             the Same Los Angeles Schools in April 2022

     17.     Based on my review of call records for the 2849

number, FBI and LASPD reports, conversations with other law

enforcement agents, and my own knowledge of the investigation, I

know that on April 27 and 28, 2022, BUCHANAN used the 2489

number to again call in bomb and other violent threats against

the same five Los Angeles schools that he previously threatened

on February 28, 2022.     Specifically, based on the call records

for the 2849 number, I am aware that BUCHANAN used the 2489

number to make the following threats:

             a.   On April 27, 2022, at approximately 2:42 p.m.,

BUCHANAN called Vine Elementary School.        According to the school

staff member who answered the phone, BUCHANAN stated: “There is

a bomb at your school and we will shoot the kids when they get
out of the school.    That is what you get for not accepting me in



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’86.”     The staff member asked who was calling and BUCHANAN

replied: “If you try to find out I will shoot you.”          After

receiving the threat, the school staff notified police and

placed the school on lockdown.      Police searched the campus for

explosives or unusual items, but found none.

             b.   On April 27, 2022, at approximately 2:45 p.m.,

BUCHANAN called Le Conte Middle School.        According to the school

staff member who answered the phone, BUCHANAN stated: “I will

shoot the kids” and ended the call.        After receiving the threat,

the school staff notified police and placed the school on

lockdown.    Police searched the campus for explosives or unusual

items, but found none.

             c.   On April 27, 2022, at approximately 2:50 p.m.,

BUCHANAN called Fairfax High School.        According to the school

staff member who answered the phone, BUCHANAN stated: “When the

kids get out there will be some shooting.        Some will be killed.”

After receiving the threat, the school staff notified police and

placed the school on lockdown.      Police searched the campus for

explosives or unusual items, but found none.

             d.   On April 28, 2022, at approximately 1:18 p.m.,

BUCHANAN called Vine Elementary School.        According to the school

staff member who answered the phone, BUCHANAN stated: “There is

a pipe bomb on Willoughby and Vine at the address of 955 Vine

Street.    Just like the one Congress is going to get.”         The staff

member asked who was calling, and BUCHANAN replied: “That’s for

me to know and you to find out.”        After receiving the bomb
threat, the school staff notified police and placed the school


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on lockdown.      Police searched the campus for explosives or

unusual items, but found none.

             e.    On April 28, 2022, at approximately 1:12 p.m.,

BUCHANAN called Overland Elementary School.         According to the

school staff who answered the call, BUCHANAN stated: “Hey bitch

you guys missed me.      Stop playing games you know who this is.         I

am going to shoot the school.      I know the kids are there.”        The

school staff member asked BUCHANAN who he was and BUCHANAN

replied: “You will know when I come over with my crew.”           After

receiving the threat, the school staff notified police and

placed the school on lockdown.      Police searched the campus for

explosives or unusual items, but found none.

       D.    M.C. Confirms that BUCHANAN Uses the 2489 Number to
             Make Bomb Threats, Including to Schools

       18.   Based on my review of FBI reports and my conversations

with FBI Special Agents, I know that on April 29, 2022, FBI

Special Agents went to the Blackwell Address, the address

associated with BUCHANAN, the 0068 number, the 2489 number, and

M.C.   M.C. was present at the Blackwell Adress and agreed to

participate in a voluntary interview.        BUCHANAN was not present.

During the interview, M.C. stated the following:

             a.    M.C. lives at the Blackwell Address with

BUCHANAN, who is her boyfriend.

             b.    M.C. has known BUCHANAN for approximately twenty

years after first meeting him while attending school in

Hollywood, California, and has been in a romantic relationship
with BUCHANAN for approximately two years.



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             c.   The 2489 number is billed under M.C.’s name, but

BUCHANAN carries and uses the phone.        BUCHANAN has another phone

number, (580) 830-0882 (the “0882 number”), which is billed

under his name.

             d.   BUCHANAN is employed as a long-haul trucker and

is often on the road for weeks at a time.        M.C. frequently calls

BUCHANAN’s 0882 number while he is on the road, and they often

leave the call running for hours so that they can feel connected

to each other.    During these and other calls to the 0882 number,

she has heard BUCHANAN use the phone associated with the 2489

number to call in bomb threats to schools, as well as to police

departments and hospitals.      M.C. believes that BUCHANAN makes

most of these threatening phone calls while driving his truck,

but has also heard him make similar calls from the Oklahoma

residence.

             e.   M.C. has tried to explain to BUCHANAN that making

threatening phone calls is wrong and that he needs to stop such

conduct, but M.C. believes BUCHANAN does not understand that

what he is doing is wrong.

             f.   M.C. has asked BUCHANAN why he makes threatening

phone calls to schools, and he told her that it is because some

or all of the schools he threatens did not accept him for

academic or other reasons when he was younger and living in the

Los Angeles area.

     19.     On May 4, 2022, FBI Special Agents returned to the

Blackwell Address and encountered BUCHANAN there.          BUCHANAN
declined to speak with agents.


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